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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KRISTEN KING                           §
F/K/A LUZ GUZMAN                       §
     PLAINTIFF,                        §
                                       §
VS.                                    §       CIVIL ACTION NO. 4:18-CV-2245
                                       §
KS MANAGEMENT SERVICES,                §
LLC,                                   §
     DEFENDANT.

                    NOTICE OF APPEARANCE OF COUNSEL FOR
                  DEFENDANT KS MANAGEMENT SERVICES, LLC’S

          D. Alan Appling of the law firm Crain Caton & James, PC enters his

appearance as additional counsel for Defendant KS Management Services, LLC.

                                       Respectfully submitted,

                                       CRAIN, CATON & JAMES PC

                                       By: /s/ D. Alan Appling_______
                                       JULIANN H. PANAGOS
                                       State Bar No. 06861100
                                       Federal ID No. 9083
                                       KIMBERLY R. STUART
                                       State Bar No. 00797486
                                       Federal ID No. 21966
                                       D. ALAN APPLING
                                       State Bar No. 24092043
                                       Federal ID No. 2792731
                                       Five Houston Center
                                       1401 McKinney Street, Suite 1700
                                       Houston, Texas 77010
                                       Telephone: 713-658-2323
                                       Facsimile: 713-658-1921

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                                       Email: jpanagos@craincaton.com
                                       Email: kstuart@craincaton.com
                                       Email: aappling@craincaton.com

                                       ATTORNEYS FOR KS MANAGEMENT
                                       SERVICES, LLC




                          CERTIFICATE OF SERVICE

      This is to certify a true and correct copy of Notice of Appearance for
Defendant KS Management Services, LLP has been forwarded to the following
counsel of record in the manner indicated on the 28th day of March 2022:

                               VIA CM/ECF SYSTEM
                          VIA EMAIL: dholmes282@aol.com

                                 David C. Holmes
                              State Bar No. 09907150
                            Southern District No. 5494
                        13201 Northwest Freeway, Suite 800
                               Houston, Texas 77040
                            Telephone: 713-586-8862
                                Fax: 713-586-8863
                               dholmes282@aol.com

                                       By: /s/ D. Alan Appling
                                          D. Alan Appling




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